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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

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                                   7     M.P., et al.,                                       Case No. 21-cv-03014-JST
                                                           Plaintiffs,
                                   8
                                                                                             ORDER TO SHOW CAUSE RE:
                                                  v.                                         SERVICE
                                   9

                                  10     HOLY NAMES UNIVERSITY, et al.,
                                                           Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          This case was filed on April 26, 2021. The operative Second Amended Complaint was

                                  14   filed on January 24, 2022. As of the date of this order, the docket reflects no evidence that the

                                  15   summons and complaint have been served on Defendants Governor Gavin Newsom, California

                                  16   Department of Education, Tony Thurmond, or California Department of Health and Human

                                  17   Services (“State Defendants”).

                                  18          Rule 4(m) of the Federal Rules of Civil Procedure provides, in relevant part:

                                  19                     If a defendant is not served within 90 days after the complaint is
                                                         filed, the court—on motion or on its own after notice to the
                                  20                     plaintiff—must dismiss the action without prejudice against that
                                                         defendant or order that service be made within a specified time. But
                                  21                     if the plaintiff shows good cause for the failure, the court must
                                                         extend the time for service for an appropriate period.
                                  22
                                       Fed. R. Civ. P. 4(m).
                                  23
                                              437 days have now passed since the filing of the Second Amended Complaint. Plaintiff is
                                  24
                                       therefore ordered to show cause why the State Defendants should not be dismissed for failure to
                                  25
                                       serve. A written response to this order is due by April 20, 2023. The Court will conduct a hearing
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                                       on the order to show cause on May 2, 2023 at 2:00 p.m.
                                  27
                                              If Plaintiff’s written response to the order to show cause is accompanied by satisfactory
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                                   1   evidence that the summons and complaint have been served on the State Defendants, the order to

                                   2   show cause will be withdrawn and the May 2, 2023 hearing will be converted to a case

                                   3   management conference.

                                   4          IT IS SO ORDERED.

                                   5   Dated: April 6, 2023
                                                                                     ______________________________________
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                                                                                                   JON S. TIGAR
                                   7                                                         United States District Judge

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Northern District of California
 United States District Court




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